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PARTIES/SPEAKERS:
] USMSJ - Joel C. Hoppe _ 6.
2. Cad} atty- Melanie: Smah 7.
3. A <SONUUNS 8.
4. 2. deputy clerk —- Karen Dotson
5 10.

APPEARANCE SHEET
FOR THE UNITED STATES DISTRICT COURT

WESTERN DISTRICT OF VIRGINIA

CASE NO.: 3;A2C ROOO |

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RECORDED BY: Karen Dotson

CD NO(S). Recorded using Cisco Conference Manager
and saved to Harrisonburg’s I: drive

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